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UNITED sTATES DISTRICT coURT HJ':U

WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA,
Plaintiff,

v. Case Number 02-20257-Ma

MARIO MONTELL STEWART,

Defendant.
J'UDGMENT
Decision by Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.
IT IS ORDERED AND ADJUDGED that the IndiCtment returned

against Mario Montell Stewart is dismissed in accordance with
the Order, docketed May 18, 2005.

APPRovED :
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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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Honcrable Samuel Mays
US DISTRICT COURT

